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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: November 13, 2012
                                           )    TIME: 9:45 a.m.
14   ORLANDO FLETES-LOPEZ,                 )    COURT: Hon. John A. Mendez
                                           )
15                      Defendant.         )
                                           )
16                                         )
                                           )
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18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff, and Tim
21   Pori, attorney for defendant Orlando Fletes-Lopez that the
22   previously-noticed hearing date of November 13, 2012, be vacated and
23   the matter re-scheduled for December 4, 2012, at 9:45 a.m.            The
24   parties further request that the Court order the government’s
25   response be due on November 6, 2012, and the defendant’s reply, if
26   any, be due on November 20, 2012.
27        This request is made jointly by the government and defense.
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 1   Dated: October 16, 2012                 /s/ Paul Hemesath
                                             Paul Hemesath
 2                                           Assistant United States Attorney
                                             Counsel for Plaintiff
 3
 4   Dated: October 16, 2012                 /s/ Tim Pori
                                             TIM PORI (authorized by
 5                                           John Baumgardner
                                             Attorney for Defendant
 6                                           ORLANDO FLETES-LOPEZ
 7
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                                       O R D E R
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          Having received, read, and considered the stipulation of the
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     parties, and good cause appearing therefrom, the Court orders that
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     the hearing currently noticed for November 13, 2012, shall be re-
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     scheduled for December 4, 2012.      It is further ordered that the
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     governments response to defendant’s motion shall be filed no later
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     than November 6, 2012, and defendant’s reply, if any, shall be filed
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     no later than November 20, 2012.
18
19   Dated: 10/17/2012                       /s/ John A. Mendez
                                             Hon. John A. Mendez
20                                           United States District Court Judge
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